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         Nos. 20-1141, 20-1142, 20-1143, 20-1149, 20-1150, 20-1151

            United States Court of Appeals
                for the Federal Circuit
                         INTEX RECREATION CORP.

                                  Appellant,

                          BESTWAY (USA), INC.,

                                  Appellee

                                      v.

                  TEAM WORLDWIDE CORPORATION

                               Cross-Appellant,

                                      v.

KATHERINE K. VIDAL, Under Secretary of Commerce for Intellectual Property
      and Director of the United States Patent and Trademark Office,

                                  Intervenor


 Appeal from the United States Patent and Trademark Office – Patent Trial and
   Appeal Board in Nos. IPR2018-00870, IPR2018-00871, IPR2018-00872,
                    IPR2018-00873, and IPR2018-0074.


NOTICE OF REQUEST TO EXTEND TIME TO FILE JOINT APPENDIX
 TO RESOLVE CONFIDENTIALITY ISSUES UNDER RULE 26(b)(4)
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      Appellant Intex Recreation Corp. files this unopposed request to extend time

to resolve confidentiality issues pursuant to Federal Circuit Rule 26(b)(4).

      This is a consolidated appeal of five separate inter partes review proceedings.

As explained in the attached declaration, this case has a large appellate record and

numerous documents in the record were filed under seal before the Board, including

documents for which no public version was required or created. The record also

includes documents with confidential business information of third parties.

Accordingly, the parties have determined that additional time is necessary to resolve

the confidentiality issues with the filing of the joint appendix. Intex therefore

requests that the due date for the joint appendix be extended four days to November

4, 2022. No previous extensions of time have been requested.

      Respectfully submitted,

Dated: October 28, 2022                /s/ Bethany N. Mihalik
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                                       & REATH LLP

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                                       Bethany N. Mihalik

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                        Intex Recreation Corp.




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                  DECLARATION OF BETHANY N. MIHALIK
      1.     I am one of the attorneys for Appellants Intex Recreation Corp. in this

appeal.

      2.     Briefing is complete in this appeal, and the joint appendix is currently

due on October 31, 2022. No party has previously requested an extension of time

in this appeal.

      3.     Additional time is needed to prepare and file the joint appendix for the

parties to resolve confidentiality issues. The record in this case is large as it

includes the consolidated records of five different inter partes reviews, and the

joint appendix will contain more than 1,000 pages. In addition, at least seven

documents cited by the parties on appeal, including highly confidential settlement

agreements and documents citing to third party confidential sales data, were filed

under seal before the Board without public versions and require individual review

and redaction by the parties to prepare confidential and nonconfidential versions of

the joint appendix under Federal Circuit Rule 25.1(e). To ensure targeted, limited,

and accurate identification and redaction of confidential information, the parties

have determined that additional time is required beyond the current, expedited

deadline of October 31, 2022, to prepare the joint appendix.

      4.     Intex did not become aware of the need for additional time until after

TWW’s reply brief was filed on October 24, 2022. Since then, the parties have



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coordinated on the final preparation of the joint appendix and have determined that

additional time is necessary.

      5.     Intex therefore respectfully requests an extension of four day, until

November 4, 2022, to prepare and file the joint appendix.

      6.     I declare under penalty of perjury under the laws of the United States

that the foregoing is true and correct.


Dated: October 28, 2022                         /s/ Bethany N. Mihalik
                                                Bethany N. Mihalik




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CERTIFICATE OF COMPLIANCE WITH WORD COUNT LIMITATION

      I certify that the foregoing filing complies with the relevant type-volume

limitation of the Federal Rules of Appellate Procedure and Federal Circuit Rules

because it has been prepared using a proportionally spaced typeface and contains

131 words.


Dated: October 28, 2022                      /s/ Bethany N. Mihalik
                                             Bethany N. Mihalik



                          CERTIFICATE OF SERVICE

      I certify that the foregoing filing was served on all counsel of record on

October 28, 2022 through the CM/ECF system.


Dated: October 28, 2022                      /s/ Bethany N. Mihalik
                                             Bethany N. Mihalik




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